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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     EVANSVILLE DIVISION

  JOHN DOE                                                )
                                                          )
                    Plaintiff,                            )
                                                          )
             vs.                                          )      Cause No. 3:21-cv-144-TWP-MPB
                                                          )
  UNIVERSITY OF SOUTHERN                                  )
  INDIANA                                                 )
                                                          )
                    Defendant.                            )

                   NOTICE OF FILING DECLARATION OF BETH DEVONSHIRE

             Defendant, University of Southern Indiana, by counsel, files the attached Declaration of

  Beth Devonshire in connection with Plaintiff’s Motion for Preliminary Injunction [DE 33].



  Dated: November 30, 2021                        Respectfully submitted,
                                                  /s/ Joseph H. Harrison III
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